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     Attorney at Law - SBN 65211
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 3   Telephone: (916) 443-0217

 4   Attorney for Defendant
     Tommy Williams
 5

 6                        UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA         )         No. Cr.S-05-100   GEB
 9                                    )
                      Plaintiff       )         STIPULATTION AND ORDER
10                                    )         (PROPOSED) FOR CONTINUING
               v.                     )         SENTENCING
                                      )
11   TOMMY WILLIAMS                   )         Date:     June 1, 2007
                                      )         Time:     9:00 AM
12                    Defendant       )         Court:    GEB
                                      )
13

14
          IT IS HEREBY STIPULATED AND AGREED by the parties through
15
     their respective attorneys that the above referenced matter,
16
     calendared for Friday, April 13, 2007, at 9:00 AM, for
17
     sentencing be rescheduled for June 1, 2007 at 9:00 AM for
18
     sentencing.
19
          This stipulation and agreement is entered into for the
20
     following reasons: Defendant is indigent and has no means to
21

22   travel from his home in Memphis to Sacramento. Undersigned is

23   making application to this Court under separate cover for travel

24   authorization in order that he may be present for sentencing.

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 1        Assistant United States Attorney Ken Melikian agrees with

 2   the above request.
 3

 4

 5
          IT IS SO STIPULATED
 6

 7

 8        Dated: April 12, 2007                 /S/ MICHAEL B. BIGELOW
                                                Michael B. Bigelow
 9                                              Attorney for Defendant

10

11

12        Dated: April 12, 2007                 /S/KEN MELIKIAN
                                                Ken Melikian, AUSA
13

14
     IT IS SO ORDERED
15

16   Dated:    April 12, 2007

17

18                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
19

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